           Case 2:11-cr-00198-MCE Document 40 Filed 08/21/12 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     CRYSTAL RUSSO
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:11-CR-00198 MCE
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   CRYSTAL RUSSO,                  )
                                     )
17                  Defendant.       )     Date: August 23, 2012
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Hon. Morrison C. England
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant, Crystal Russo,
21   through her attorney, Timothy Zindel, and plaintiff, United States of
22   America, through its attorney, Daniel S. McConkie, that the status
23   conference scheduled for August 23, 2012, may be continued to September
24   27, 2012, at 9:00 a.m.
25        Ms. Russo and counsel are still awaiting additional audio recordings
26   the government has promised to provide in discovery.          Those recordings
27   will determine whether further investigation is needed and will help the
28   parties to resolve the case.
              Case 2:11-cr-00198-MCE Document 40 Filed 08/21/12 Page 2 of 2


1    (The Court recently ordered a pre-plea presentence report on behalf of
2    co-defendant Alonzo Barnett and scheduled a separate status for him.) To
3    complete discovery and investigation, the parties agree that the ends of
4    justice served by this continuance outweigh the best interests of the
5    public and the defendant in a speedy trial and that time under the Speedy
6    Trial Act should be excluded through September 27, 2012, pursuant to 18
7    U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and (b)(IV).
8                                              Respectfully submitted,
9                                              DANIEL J. BRODERICK
                                               Federal Defender
10
     Dated:    August 17, 2012                 /s/ T. Zindel
11                                             TIMOTHY ZINDEL
                                               Assistant Federal Defender
12                                             Attorney for CRYSTAL RUSSO
13
                                               BENJAMIN B. WAGNER
14                                             United States Attorney
15   Dated:    August 17, 2012                 /s/ T. Zindel for D. McConkie
                                               DANIEL S. McCONKIE
16                                             Assistant U.S. Attorney
17
18                                        O R D E R
19          The status conference is continued to September 27, 2012, at 9:00
20   a.m.     The Court finds that the ends of justice to be served by a
21   continuance outweigh the best interests of the public and the defendant
22   in a speedy trial, for the reasons stated above.
23          IT IS SO ORDERED.
24
      Dated: August 21, 2012
25
26                                           _____________________________
                                             MORRISON C. ENGLAND, JR.
27
                                             UNITED STATES DISTRICT JUDGE
28


     Stip & Order                             -2-
